            Case 1:20-cv-11075-NRB Document 37 Filed 01/22/21 Page 1 of 3




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

MATTEL, INC.,                                               :

                                           Plaintiff,       :

                     - against -                            :    20 Civ. 11075 (NRB)

THE ENTITIES DOING BUSINESS                                 :
AS GOODMENOW AT THE URL
GOODMENOW.COM, THE ENTITIES                                 :
DOING BUSINESS AS
MEETGOODTIMES AT THE URL                                    :
MEETGOODTIMES.COM,
THE ENTITIES DOING BUSINESS AS                              :
FEELITNICE AT THE URL
FEELITNICE.COM, THE ENTITIES                                :
DOING BUSINESS AS THE PAYPAL
MERCHANT YOKAWA NETWORK                                     :
LIMITED, JOHN DOE NOS. 1-5, AND
ABC ENTITY NOS. 1-5,                                        :

                                       Defendants.          :

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

        ORDER MODIFYING ORDER TO SHOW CAUSE FOR AN ATTACHMENT
               ORDER AND A TEMPORARY RESTRAINING ORDER

          Upon the prior proceedings in this action, the Amended Order To Show Cause For An

Attachment Order And A Temporary Restraining Order (Dkt. 19) be, and hereby is, modified so

that the first and second decretal paragraphs, on page 3, are stricken and the following decretal

paragraphs are added in their place:

                    ORDERED that, pursuant to Rules 64 and 65 of the Federal Rules of Civil

          Procedure and New York CPLR §§ 6201 and 6210, pending the hearing on Mattel’s

          application for an order of prejudgment attachment, the funds of each Defendant and/or

          Yokawa Network Ltd. in its accounts at PayPal, including the eleven accounts identified
  Case 1:20-cv-11075-NRB Document 37 Filed 01/22/21 Page 2 of 3




to date by PayPal as being owned by Yokawa Network, Ltd., including the accounts with

the following final four digits:

                         1164128605920291866

                         1190979787555094850

                         1438016053236519272

                         1625398636467663523

                         1910751657129915028

                         2156417060855384250

                         2178297694194970459

                         2304443429867797309

                         1934760723487669987

                         2218958394373318008

up to the total amount, in all accounts, of $2,800,000, hereby are attached up to the

amount of $2,800,000 and no further; and it is further

       ORDERED that each Defendant, its officers, agents, servants, employees, and

attorneys, and all persons in active concert or participation with any of them who receive

actual notice of this order, be, and hereby are, TEMPORARILY RESTRAINED from:

(1) transferring or withdrawing, or causing to be transferred or withdrawn, any funds

from any account of any Defendant at PayPal, including the 11 accounts identified in the

prior paragraph, if such transfer or withdrawal would result in Defendants’ total account

balances at PayPal falling below $2,800,000, and/or (2) receiving any funds from any

account of any Defendant at PayPal , including the 11 accounts identified in the prior

paragraph, if such transfer or withdrawal would result in Defendants’ total account



                                         2
        Case 1:20-cv-11075-NRB Document 37 Filed 01/22/21 Page 3 of 3




      balances at PayPal falling below $2,800,000, pending further order of the Court; and it is

      further

                ORDERED that PayPal shall hold funds of Defendants up to the total amount of

      $2,800,000, and shall not pay, transfer, dissipate, or otherwise release possession and/or

      control of any portion of that $2,800,000 for any purpose whatsoever, including but not

      limited to satisfying any claim of PayPal or its customers, whether secured or unsecured,

      pending further order of the Court, and it is further

                ORDERED that for the avoidance of doubt, nothing in this order shall prevent any

      person from adding funds to any of the PayPal accounts that are the subject of this order;

      and it is further

                ORDERED that for the avoidance of doubt, nothing in this order shall prevent any

      Defendant or account holder from withdrawing or transferring funds from any of the

      PayPal accounts that are subject to this order, so long as such withdrawal or transfer does

      not reduce the restrained amount of $2,800,000; and it is further

                ORDERED that for the avoidance of doubt, nothing in this order shall impose any

      obligation on PayPal with respect to any amounts in Defendants’ accounts, in total, in

      excess of $2,800,000; and it is further

                ORDERED that this restriction is issued without prejudice to further modification

      upon further order of this Court.

Dated: New York, New York
       January 22, 2021
       Issued at 11:30 am

                                                     _________________________
                                                     Hon. Naomi Reice Buchwald
                                                          US District Judge



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